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                                                                          EXHIBIT 18

                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           NORTHERN DIVISION

ANGELA RUSSELL, AS ADMINISTRATRIX
OF THE ESTATE OF JEREMY T. RUSSELL
AND ON BEHALF OF THE WRONGFUL DEATH
BENEFICIARIES OF JEREMY T. RUSSELL                                       PLAINTIFF

V.                                                 CASE NO. 3:22-cv-294-HTW-LGI

MANAGEMENT & TRAINING CORPORATION; et al.                               DEFENDANTS

                       ANGELA RUSSELL’S RESPONSES TO
                    FIRST SET OF REQUESTS FOR ADMISSION

      Angela Russell objects and responds to Management Training Corporation’s

(“MTC”) first set of requests for admission.

                             GENERAL OBJECTIONS

      Angela objects to MTC’s instructions insofar as they go beyond the purpose of

providing clarity and create unreasonable overbreadth in the requests for admission

that follow them.

      Angela further objects to these requests insofar as they impose more

obligations than does Federal Rule of Civil Procedure 36.

      REQUEST No. 1: Admit that despite clear policy prohibiting such, Jeremy

Russell acquired and took illegal narcotics while incarcerated.

      RESPONSE: Objection is interposed to the argumentative phrasing and any

adverse implication that may arise by virtue of that phrasing. Without waiver, it is

admitted that Jeremy Russell was able to acquire illegal narcotics while in the

custody of MDOC, including at East Mississippi Correctional Facility. As Michael
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McClinton testified, illegal narcotics were made available to inmates because “bad

employees” of MTC smuggled the illegal narcotics into the facility.

      REQUEST No. 2: Admit that Jeremy Russell did in fact take his own life by

suicide and was not killed either accidently or intentionally by an inmate or employee

of Management & Training Corporation.

      RESPONSE: Denied on insufficient information. The evidence adduced

strongly suggests this is the case, but the answering party (after making reasonable

inquiry) cannot conclusively admit or deny this request based on the information

available to her.

      Further, this request is expressly denied insofar as “killed . . . accidently or

intentionally . . . by an . . . employee” of MTC is meant to absolve MTC employees

from their negligent or deliberately indifferent actions and omissions that causally

contributed to Jeremy’s death.

      REQUEST No. 3: Admit that there is no actual evidence of why Jeremy Russell

committed suicide.

      RESPONSE: Denied.

      REQUEST No. 4: Admit that Jeremy Russell was not on “Suicide Watch” at

the time he committed suicide.

      RESPONSE: Objection to this request as ambiguous because “Suicide Watch”

is quoted and capitalized but it is not, in fact, a term defined by MTC’s discovery

requests. Without waiver, it is admitted that Jeremy Russell was not on suicide watch

as that term is used by the medical professionals and officers working within East



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Mississippi Correctional Facility. Russell was housed in an acute care unit called

“camp support,” which was effectively a step-down unit that was required to be

regularly rounded and monitored by two MTC officers on a 24/7 basis.

      REQUEST No. 5: Admit that Management & Training Corporation does not

determine if and when an inmate should be placed on suicide watch or observation.

      RESPONSE: It is admitted only that MTC, as a fictional legal entity, cannot

and does not literally make any determinations; persons acting on its behalf do. It is

denied that MTC (and those acting on its behalf) are somehow not responsible for

determining if and when an inmate should be placed on suicide watch or observation.

MTC is exclusively appointed as the manager and operator of East Mississippi

Correctional Facility and is obligated to maintain and manage the facility in

compliance with federal and state laws and applicable standards. Further, a policy

adopted and maintained by MTC specifically prohibits an inmate being taken off

suicide watch without an order from a physician or psychologist.

      REQUEST No. 6: Admit that Management & Training Corporation is not

responsible for mental and/or medical healthcare treatment to inmates incarcerated

at East Mississippi Correctional Facility.

      RESPONSE: Denied.

      REQUEST No. 7: Admit that due to the architectural structure of the unit

Jeremy Russell was housed in, Jeremy Russell could not have known the unit was

unstaffed at the time of his suicide while housed inside his cell.

      RESPONSE: Denied.



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      REQUEST No. 8: Admit that Angela Russell never told any agent or employee

of Management & Training Corporation that Jeremy Russell wanted to commit

suicide in October, 2021.

      RESPONSE: Denied.

      REQUEST No. 9: Admit that Jeremy Russell never told Angela Russell that

he wanted to commit suicide in October, 2021.

      RESPONSE: Denied.

      REQUEST No. 10: Admit that you cannot identify by name any MTC employee

that provided or allowed access to illegal narcotics to Jeremy Russell while

incarcerated at East Mississippi Correctional Facility.

      RESPONSE: Admitted only that Ms. Russell cannot currently identify the

name of any MTC employee that provided or allowed access to illegal narcotics by

Jeremy.

      REQUEST No. 11: Admit that you have no proof to substantiate your claims

asserted in paragraph 48 of your Second Amended Complaint.

      RESPONSE: Denied.

      REQUEST No. 12: Admit that you have no proof to substantiate your claims

asserted in the first two sentences of paragraph 71 of your Second Amended

Complaint.

      RESPONSE: Denied.

      REQUEST No. 13: Admit that you have no proof to substantiate your claims

asserted in paragraph 72 of your Second Amended Complaint.



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      RESPONSE: Denied.

      REQUEST No. 14: Admit that you have no proof to substantiate your claims

asserted in paragraph 74 of your Second Amended Complaint.

      RESPONSE: Denied.

      REQUEST No. 15: Admit that there you have no proof of a causal connection

between your allegation contained in the last sentence of paragraph 51 of your Second

Amended Complaint and Jeremy Russell’s death.

      RESPONSE: Denied.

      REQUEST No. 16: Admit that the allegations contained in Count 2 – Wrongful

Administration of Medication – in your Second Amended Complaint cannot legally be

directed towards Defendant MTC.

      RESPONSE: Denied.

      Dated this the 19th day of April, 2023.

                                        Respectfully submitted,

                                        ANGELA RUSSELL


                                        BY:     Grafton E. Bragg
                                                GRAFTON E. BRAGG (MSB # 104821)


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                             CERTIFICATE OF SERVICE

     I, Grafton E. Bragg, hereby certify that I have this day served the foregoing
document via electronic means to:
             Jarrad Garner
             Ray Young
             Adams and Reece, LLP
             1018 Highland Colony Parkway, Suite 800
             Ridgeland, MS 39157

             Michael Chase
             Mitchell McNutt & Sams, PA
             105 South Front Street
             PO Box 7120
             Tupelo, MS 38802

      This the 19th day of April, 2023.

                                          _Grafton E. Bragg___ _______________
                                          GRAFTON E. BRAGG (MSB # 104821)




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